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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

                                                      )
  IN RE: MOTION TO UNSEAL SEARCH                      )       Cause No. 1:25-mc-22-TWP-TAB
  WARRANTS                                            )
                                                      )
                                                      )

                  GOVERNMENT’S RESPONSE TO ORDER TO SHOW CAUSE

          In accordance with the Court’s May 13, 2025 Order (Docket No. 8), the Government has

  filed, ex parte and under seal for in camera review, proposed redactions to the search warrant

  materials that the Petitioner is seeking to unseal. As these documents illustrate, redaction is not

  practical in this case. Accordingly, as set forth below and in the Government’s April 17, 2025

  Response in Opposition to Motion to Unseal Search Warrants (Docket No. 6), and consistent with

  In re Eyecare Physicians of America, 100 F.3d 514 (7th Cir. 1996), the Court should decline to

  release any version of the search warrant materials while this investigation remains ongoing.

                                              Background

          In March 2025, a federal magistrate judge in the Southern District of Indiana authorized

  searches of various locations in the district in connection with an ongoing federal investigation.

  Because the search warrants pertained to an ongoing investigation that was not public, the Court

  ordered that the affidavits and related filings be sealed in accordance with Local Criminal Rule

  49.1-2(f)(2).

          Following news media reports after the execution of these search warrants, the Petitioner

  filed a motion seeking either to unseal the search warrants in their entirety or the release of redacted

  versions of the materials. As set forth in greater detail below, redaction is not a practical solution

  in this case and, as a result, the search warrant materials should remain sealed.
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                          Seventh Circuit Precedent – EyeCare Physicians

          In EyeCare Physicians, the Seventh Circuit declined to unseal a search warrant affidavit in

  an ongoing criminal investigation. The Seventh Circuit reasoned that unsealing the affidavit

  could impair the government’s investigation because it would “provide EyeCare with a road map

  to the government’s investigation.” 100 F.3d at 516.

          Specifically, in declining to unseal the affidavit, the Seventh Circuit noted concerns about

  the secrecy of grand jury proceedings, the privacy interests of unnamed and uncharged subjects,

  the potential for confusion and mistake, and the risk to the ongoing investigation. The Seventh

  Circuit also determined that redaction was not a viable alternative because “‘redaction would entail

  such a large portion of the affidavit that it is not a practical alternative’” and “‘partial disclosure

  or redaction might mislead the reader to mistakenly conclude that certain persons and entities are

  either subjects of the investigation or are cooperating with the government.’” Id. (citations

  omitted); accord In re Search Warrant dated Nov. 5, 2021 (“Nov. 5, 2021 Search Warrant”), 21

  Misc. 813 (AT), 2024 WL 1636239, at *4 (S.D.N.Y. Apr. 16, 2024) (accepting magistrate judge’s

  conclusion that redaction of search warrant materials was impossible because release of redacted

  materials posed too great a risk to the ongoing investigation and to third-party privacy interests);

  In re Associated Press, Civil Action No. 5:22-mc-111, 2023 WL 5671289, at *7 (S.D. Tex. Sept.

  1, 2023) (concluding that there was “no reasonable alternative to sealing” because virtually every

  sentence contained sensitive information and could not be redacted while preserving anything

  meaningful to be released).

          The concerns identified in EyeCare Physicians, and by other district courts that have

  considered this issue, are all present in the instant case and cut against either unsealing or releasing

  a redacted copy of the search warrant materials.



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                                                 Analysis

  1.        The Search Warrant Materials Should Remain Sealed to Protect the Integrity of the
            Ongoing Investigation.

            The Government has a compelling interest in protecting the integrity of this ongoing

  criminal investigation.     See, e.g., Nov. 5, 2021 Search Warrant, 2024 WL 1636239 at *4;

  Associated Press, 2023 WL 5671289 at *6. As such, the search warrant materials should remain

  sealed.

            Numerous circuit courts have recognized that the existence of an ongoing federal criminal

  investigation that has not resulted in any federal indictment strongly tips the balance in favor of

  non-disclosure of search warrant materials. See, e.g., In re Search Warrant for Secretarial Area

  Outside Office of Gunn, 855 F.2d 569, 571, 574-75 (8th Cir. 1988); Times Mirror Co. v. United

  States, 873 F.2d 1210, 1215 (9th Cir. 1989); United States v. Cianci, 175 F. Supp. 2d 194, 202

  (D.R.I. 2001); In re Macon Telegraph Pub. Co., 900 F. Supp. 489, 492 (M.D. Ga. 1995). These

  courts (and others that have faced the same issue) have all recognized that premature release of

  information regarding an ongoing investigation could result in the destruction of evidence, could

  discourage witnesses from providing evidence or testimony, and could cause subjects of the

  investigation to take steps to hinder or obstruct the investigation. See, e.g., Nov. 5, 2021 Search

  Warrant, 2024 WL 1636239 at *4; Associated Press, 2023 WL 5671289 at *4.

            The Government’s need to protect the integrity of its investigation also factored heavily in

  the district court’s analysis and conclusion in EyeCare Physicians. See In re EyeCare Physicians

  of America, 910 F. Supp. 414 (N.D. Ill. 1996). The district court emphasized that the “privacy of

  implicated persons who have not been charged” as well as “other witnesses . . . would be impaired

  by disclosure.” Id. at 421. In addition, “the identity of unnamed subjects would become clear .

  . . which disclosure could jeopardize the investigation,” the “disclosure of numerous potential


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  witnesses could result in their unwillingness to cooperate with the government,” and “the scope of

  the investigation would be revealed so as to give . . . premature guidance concerning potential

  charges.” Id.

          Similarly, in Gunn, the Eighth Circuit noted that the search warrant “documents describe

  in considerable detail the nature, scope and direction of the government’s investigation and the

  individuals and specific projects involved” and therefore should not be disseminated while the

  investigation was in a pre-indictment posture. 855 F.2d at 574.

          So too here. As the Court can see from the in camera submission, the search warrants in

  this case relate to an ongoing federal criminal investigation in which no public charges have been

  filed. And, of course, if or when evidence is presented to the grand jury for consideration, the

  unsealing of the affidavits will have publicly disclosed material presented to the grand jury.

  EyeCare Physicians, 100 F.3d at 518 (discussing the importance and “centuries-old requirement”

  of grand jury secrecy).

          The search warrant affidavits spell out in extensive detail the investigative steps taken to

  date.   Releasing such information publicly would disclose the potential charges under

  investigation, the targets of the investigation, the witnesses that have been or potentially will be

  interviewed, the locations and property searched and to be searched in the future, and the

  investigative techniques that federal law enforcement has used or potentially will use in the future

  to gather additional evidence in this investigation.       Revealing such information seriously

  jeopardizes the investigation because it will give individuals an opportunity to delete, destroy, or

  alter evidence; influence potential witnesses; or flee the jurisdiction. In addition, knowledge of

  the theory of the Government’s case will give premature notice to potential witnesses and may

  prevent the Government from obtaining accurate recollections from witnesses who have had an



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  opportunity to “square up” their stories before they are interviewed. Accordingly, the search

  warrant materials should remain sealed.

  2.     The Search Warrant Materials Should Remain Sealed to Encourage Witness
         Cooperation.

         Relatedly, prematurely unsealing the search warrant materials would chill future witness

  cooperation.

         As previously noted, this case is still in the investigative stage, and the Government will

  likely conduct witness interviews before charges are presented to the grand jury.            If the

  investigation is not kept confidential, then witnesses will be less willing to come forward to speak

  to the Government out of fear of embarrassment, reputational damage, or reprisal. This is

  especially true because some of the potential witnesses collaborated with the target(s) of this

  investigation over many years. Witnesses who believe that their names may become public may

  be unwilling to speak candidly to investigators—or may be unwilling to share information at all—

  which would frustrate the Government’s investigation. See EyeCare Physicians, 100 F.3d at 519

  (“Additional consequences in disclosing the sealed affidavits include: . . . the cooperation of

  present and potential witnesses could be compromised or influenced.”) As a result, the search

  warrant materials should remain sealed.

  3.     The Search Warrant Materials Should Remain Sealed to Protect the Reputational
         and Privacy Interests of Uncharged Individuals.

         Beyond concerns about witness privacy and reputational damage, unsealing the search

  warrant affidavits also affects the privacy interests of uncharged individuals and entities that are

  mentioned in the affidavits—which, in this case, is all of the individuals and entities mentioned in

  the affidavits, as no public charges yet exist. In Employees of McDonnell Douglas Corp. v. The

  Pulitzer Publishing Co., 895 F.2d 460 (8th Cir. 1990), the unindicted subjects of a search warrant



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  objected to the district court releasing a redacted version of the search warrant affidavit that

  included descriptions of their conversations.          In declining to unseal, the Eighth Circuit

  emphasized the procedural posture of the investigation, the detailed nature of the affidavit, and the

  fact that the affidavit implicated “some individuals directly in criminal misconduct, others only

  indirectly.” Id. at 467. The court noted that even for individuals who were not criminally

  charged, disclosure could seriously damage their reputations and their careers. Id.

           Similarly, in this case, no criminal charges have been filed and release of the search warrant

  affidavits would affect the privacy interests of individuals and entities who are both directly and

  indirectly implicated in criminal misconduct. Many of the parties identified in the affidavit may

  never be criminally charged – and none of these individuals or entities have been consulted to

  ascertain their position regarding release of redacted materials. 1         As the Seventh Circuit

  recognized in EyeCare Physicians, these circumstances, too, justify keeping the search warrant

  materials under seal. See EyeCare Physicians, 100 F.3d at 519 (“Additional consequences in

  disclosing the sealed affidavits include: . . . the privacy of the innocent and the implicated would

  be threatened.”)

  4.       The Search Warrant Materials Should Remain Sealed to Prevent Misunderstanding
           Regarding the Government’s Investigation.

           Relatedly, unsealing the search warrant affidavits could result in misunderstandings

  regarding the nature of the Government’s investigation. As the Court can see, the search warrant

  affidavits contain detailed factual allegations about a myriad of topics. While these facts are

  necessary to establish probable cause—and to lay out the Government’s theory of its investigation

  —releasing this information publicly could result in confusion and misunderstanding regarding




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      Petitioner does not represent the owner of the premises searched.

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  the crimes that are under investigation as well as the targets of that investigation. See EyeCare

  Physicians, 100 F.3d at 519 (“Additional consequences in disclosing the sealed affidavits include:

  . . . there may be mistaken notions concerning who might and might not be cooperating with the

  government or who may be subjects; there may be misunderstandings about the parameters of the

  government's investigation[.]”).

  5.     Line-by-Line Redaction of the Search Warrant Materials is Neither Practical nor
         Realistic.

         In this case, line-by-line redaction of the search warrant materials would be practically

  impossible because the materials (in particular, the search warrant affidavits) contain a detailed

  summary of a complex and interrelated investigation. As a result, the redactions would be so

  significant that it is simply not practical. See EyeCare Physicians, 910 F. Supp. at 421; see also

  Gunn, 855 F.2d at 574-75; Search Warrant dated Nov. 5, 2021, 2024 WL 1636239 at *4;

  Associated Press, 2023 WL 5671289 at *7. Moreover, the amount of redaction that would be

  necessary to protect the investigation would render the materials both unintelligible and

  misleading. Accordingly, the Court should also decline to release redacted versions of the search

  warrant materials.




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                                              Conclusion

          For the foregoing reasons, the Court should deny the Petitioner’s Motion in its entirety and

  should not release either redacted or unredacted versions of the search warrant materials at this

  time.

                                                        Respectfully submitted,

                                                        JOHN E. CHILDRESS
                                                        Acting United States Attorney

                                                By:     /s/ Kathryn E. Olivier
                                                        Kathryn E. Olivier
                                                        Matthew J. Rinka
                                                        Assistant United States Attorneys




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 27, 2025, a copy of the foregoing was filed electronically.

  Notice of this filing will be sent to counsel of record operation of the Court’s electronic filing

  system. In addition, notice of this filing was sent to the following party by First-class United

  States Mail, postage prepaid and properly addressed to:

         Riana Pfefferkorn
         353 Jane Stanford Way
         Stanford, CA 94305

                                         By:     /s/ Kathryn E. Olivier
                                                   Kathryn E. Olivier
                                                   Assistant United States Attorney
                                                   Office of the United States Attorney
                                                   10 W. Market Street, Suite 2100
                                                   Indianapolis, IN 46204-3048
                                                   Telephone: (317) 226-6333
                                                   Fax: (317) 226-6125
                                                   Email: Kathryn.Olivier@usdoj.gov




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